Case 1:15-cr-20761-DMM Document 117 Entered on FLSD Docket 10/05/2016 Page 1 of 1

 

Department of the Treasury
Federal Law Enforcement Agencies
PROCESS RECEIPT AND RETURN

 

 

 

 

 

Fines, Penalties & Forfeitures - Miami, FL

 

PLANTIFF COURT CASE NUMBER
United States of America {5-20761-Cr-DMM (DE1 16)
DEFENDANT TYPE OF PROCESS
US v. Erso Borgella Preliminary Order of Forfeiture
SER NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO BE SERVED OR DESCRIPTION OF PROPERTY TO SEIZE.
VE IR/P 10609 NW 48th St., Coral Sprinas, FL
AT ADDRESS (Street or RFD, Apartment No., City, State and Zip Code)

 

SEND NOTICE OR SEAVICE COPY TO REQUESTER AT NAME ANDO ACORESS BELOW

 

AUSA Nalina Sombuntham
99 NE 4th Street, Suite 700
Miami, FL 33056

NUMBER OF PROCESS TO BE

SEAVED IN THIS CASE

 

 

NUMBER OF PARTIES TO BE

SERVED IN THIS CASE

 

CHECK BOX IF SERVICE IS ON USA

 

 

 

Addresses, Telephone Numbers, and Estimated Times Available For Service)

Please post and walk.
Agency file M113CR15M10131
SA Jeanne Ayo

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Includes Business and Alternate

 

Signatura of Attornay er other Originator requesting service on behalf ot: FJ Plaintiff
(} Defendant

(

TELEPHONE NO.
(305) 961-9224

DATE

GJrejic_|

 

 

 

@ SIGNATURE AND DATE OF PERSON ACCEPTING PROCESS.

 

SPACE BELOW FOR USE OF TREASURY LAW ENFORCEMENT AGENCY

 

| acknowledge recaipt for tha total Diatrict of Origin

No.

District to Serva

Number of procass indicated. ( No...

 

 

 

 

 

i AUTHORIZED TREASURY AGENCY OFFICER,

DATE
a9 anil,

 

 

COMPANY CORPORATION, ETC , AT THE AODAESS SHOWN ABOVE OF ON THE ADDRESS INSERTED BELOW,

'HEREBY CERTIFY AND RETUAN THAT I( ) PERSONALLY SERVED. ( | HAVE LEGAL EVIDENCE OF SEAVICE, YsAve EXECUTED AS SHOWN IN "REMARKS", THE PROCESS DESCAIBED ON THE iNoIVIQUAL,

 

| HEREBY CERTIFY ANO RETURN THAT | AM UNABLE TO LOCATE THE INDIVIDUAL, COMPANY, CORPORATION, ETC. NAMED ABOVE,

 

NAME & TITLE OF INDIVIDUAL SERVED IF NOT SHOWN ABOVE

(CJA person of suitable age and discretion then residing in
tha delendant’s usual place of abode.

 

ADDRESS: (Complete only If different than shown above)

DATE OF Mao TIME OF SERVICE

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THLE ANO TREASURY AGENCY
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Cpe.

 

 

 

REMARKS:

Kg

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